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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

SADIE HACKLER, on behalf of herself          §
and all others similarly situated,           §
                                             §
Plaintiff,                                   §
                                             §
V.                                           §          Case No. 5:18-CV-00911-XR
                                             §
TOLTECA ENTERPRISES, INC. d/b/a              §
PHOENIX RECOVERY GROUP,                      §
                                             §
Defendant.                                   §


              PLAINITFF’S MOTION TO COMPEL DISCOVERY RESPONSES


        Plaintiff files this Motion to Compel Discovery Responses from Defendant and

shows:

        1.      This case is filed as a class action under the Federal Fair Debt Collection

Act, which specifically provides for class actions without regard to any minimum recovery

per class member. 15 U.S.C. 1692k (a) (2).

        2.      Plaintiff contends that a form letter sent by Defendant violates the FDCPA

because the letter omits part of the statutory notice required in initial collection letters.

Proper notice in turn triggers statutory protections for consumers concerning their right to

obtain verification of the debt and the right to have collection actions cease until the debt

is verified. See, Dkt.18, Plaintiff’s Motion for Summary Judgment on Liability.

        3.      One of the prerequisites of class certification in an indication that the

proposed class is “so numerous that joinder of all members is impracticable”. F.R. Civ. P

23(a)(1). Boles v. Moss Codilis, LLP, Civil Action No. SA-10-CV-1003-XR, 2012 U.S. Dist.



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LEXIS 196826 at *21-22, 2012 WL 12861080 (W.D. Tex. 2012). This is known as the

“numerosity” requirement.

       4.      Courts have added onto the requirement of numerosity, the requirement

that the class members be “ascertainable”, i.e. capable of being identified using objective

criteria. Id. at *11-17. This is known as the requirement of “ascertainability.”

       5.      In discovery, Plaintiff has propounded interrogatories, request for

production of documents and request for admission that go to numerosity and

ascertainablity, as well as to Defendant’s bona fide error defense.              See Bingham

Declaration, submitted herewith.

       6.      Defendant has decided that it need not participate in good faith discovery –

or even attempt to do so- because it has an unfounded theory that since Defendant

allegedly has a small net worth, a class action against Defendant is “not viable”. 1

Defendant has failed to respond to routine class discovery about the number of class

members 2 , ascertainability, and Defendants policies and procedures on the basis that

class discovery is “premature as not class exists and no class has been certified and this

cases is not class viable anyway”, 3 (Bingham Decl. Ex. B, P13) and “this case is not class

worthy and therefore the matters inquired about are objectionable and premature…” Id.

“… premature as no class has been certified and this class is not class worthy in any

event due to problems of ascertainability, or “insufficient redressability due to Defendants


1 In an FDCPA class action, damages are limited to the lesser of $500,000 or 1% of Defendant’s
net worth. 15 U.S.C. 1692k (a) (2). Therefore, net worth discovery is relevant.
2
  See Ex. A to Bingham Decl. P5, Interrogatory 1 (b) and Defendant’s Response, Ex. B to Bingham
Decl. P.13. Also see Plaintiff’s Request for Admission #5, requesting an admission that the form
letter in the case was sent to more than 40 people, (Ex. A to Bingham Decl. P. 9, and Defendant’s
Response, Ex. B, P.16.
3
  See Plaintiff’s request for Production of Document, Ex A to Bingham Decl. P7, and Defendant’s
Response, Ex. B, P.20.

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meager net worth” or “not class worthy due to insufficient net worth of Defendant, Also,

the matter of ascertainability is premature.” Id.

        7.      Defendant’s “no viable class” supposition is not supported by the FDCPA

statute and cases construing it. The FDCPA specifically sanctions class actions “without

regard to a minimum individual recovery”. 15 U.S.C. §1692k (a)(2). (emphasis added)

Defendant’s small or even negative net worth is not a reason not to certify an FDCPA

class, let alone a reason to allow stonewalling of discovery responses. The most cited

case is Mace v. Van Ru Credit Corp, 109 F.3d 388, 344 (7th Cir. 1997). There the court

said:

        …we believe that a de minimis recovery (in monetary terms) should not
        automatically bar a class action. The policy at the very core of the class
        action mechanism is to overcome the problem that small recoveries do not
        provide the incentive for any individual to bring a solo action prosecuting his
        or her rights. A class action solves this problem by aggregating the relatively
        paltry potential recoveries into something worth someone's (usually an
        attorney's) labor.
        True, the FDCPA allows for individual recoveries of up to $1,000. But this
        assumes that the plaintiff will be aware of her rights, willing to subject herself
        to all the burdens of suing and able to find an attorney willing to take her
        case. These are considerations that cannot be dismissed lightly in
        assessing whether a class action or a series of individual lawsuits would be
        more appropriate for pursuing the FDCPA's objectives. 4


4
  [footnote not in Mace opinion] “nearly every federal court—including this Court—has allowed
parties to bring FDCPA class actions precisely because individual claims are unlikely to be
brought. See, Boles v. Moss Codilis, LLP, Civil Action No. SA-10-CV-1003-XR, 2012 U.S. Dist.
LEXIS 196826 at *38040 (W.D. Tex. 2012); Carmen v. R.A. Rogers, Inc., No. SA-16-CA-971-FB
(HJB), 2018 U.S. Dist. LEXIS 174461 at *13-14 (W.D. Tex. 2018). Aggregating claims thus
encourages lawsuits that produce the "deterrent and curative effect of eliminating abusive
collection practices intended by Congress." Datta v. Asset Recovery Sols., LLC, No. 15-CV-
00188-LHK, 2016 U.S. Dist. LEXIS 36446, at *27-28 (N.D. Cal. 2016); “Rather, the Court must
keep in mind the "private attorney general" enforcement mechanism chosen by Congress in
enacting the FDCPA. See Phillips v. Amana Collection Services, 1992 U.S. Dist. LEXIS 13558,
1992 WL 227839 (W.D.N.Y.). If only those recipients of the letter with significant damages, and
thus incentive to sue, brought actions to challenge its legality, the FDCPA would not have the
deterrent and curative effect of eliminating abusive collection practices intended by
Congress. Id. Although class members may recover smaller damages amounts than would have
been the case in individual actions, the Court finds that the class action vehicle is nonetheless

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       The attorney's fee provision makes the class action more likely to proceed,
       thereby helping to deter future violations. When individual class members
       are offered the right and opportunity to opt out of the class action, the
       statutory language "without regard to a minimum individual recovery"
       generally controls. 15 U.S.C. § 1692k(a)(2)(B).” Id.

       8.      Although the quoted portions of the Mace decision are dicta, the reasoning

of Mace has been almost universally adopted by courts that have considered head-on the

matter of a defendant’s claimed negative or de minimis net worth. See, Warcholek v. Med.

Collections Sys., 241 F.R.D. 291 (N.D. Ill. 2006) (Class certified where Defendant had

negative net worth); Lemire v. Wolpoff & Abramson, LLP., 256 F.R.D. 321, 331 (D. Conn.

2009) (“[E]ven if [defendant’s] net worth turns out to be negative, a class action will still

be superior to individual litigation”); Barkouras v. Hecker, 2006 WL 3544585 *4 (D. Ill.

2003) (class action was the superior device even though the defendant was insolvent);

Harris v. D. Scott Carruthers & Assoc., 270 F.R.D. 446, 454-456 (D. Neb. 2010) (FDCPA

class certified even though defendant had negative net worth).              Spice v. Blatt,

Hasenmiller, Liebsker & Moore LLC, No. 1:16-CV-366-TLS, 2018 U.S. Dist. LEXIS 11042,

at *23-24 (N.D. Ind. 2018) (“The plain language of the FDCPA supports class certification

even where individual class member recovery is likely de minimis. The statutory language

provides that class damages are to be awarded "without regard to a minimum individual

recovery. 15 U.S.C. § 1692k(a)(2)(B)(ii)”.) Steffek v. Client Servs., No. 18-C-160, 2018

U.S. Dist. LEXIS 127447 (E.D. Wis. 2018) (“The fact that recovery may be minimal

supports Plaintiffs' assertion that a class action is the superior method of resolution);


superior, given the remote likelihood that such individual actions actually would be brought.
Macarz v. Transworld Sys., 193 F.R.D. 46, 55 (D. Conn. 2000).




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(emphasis added) Hernandez v. Midland Credit Mgmt., 236 F.R.D. 406, 414 (N.D. Ill.

2006) (de minimis recovery not a bar to class certification); Nichols v. Northland Grps.,

Inc., Nos. 05 C 2701, 05 C 5523, 06 C 43, 2006 U.S. Dist. LEXIS 15037 (N.D. Ill. 2006)

(di minimis recovery no bar to FDCPA certification); Kalish v. Karp & Kalamotousakis,

LLP, 246 F.R.D. 461, 464-65 (S.D.N.Y. 2007) (de minimis recovery argues in favor of

class superiority); Hicks v. Client Servs., 257 F.R.D. 699, 701 (S.D. Fla. 2009) (same);

Egge v. Healthspan Servs. Co., 208 F.R.D. 265, 272 (D. Minn. 2002) (“That class

members would receive a minimal statutory damage award in a class action here does

not warrant denial of class certification.”

       9.       The reasoning behind these cases is well expressed in Gaalswijk-Knetzke

v. Receivables Mgmt. Servs. Corp., No. 8:08-cv-493-T-26TGW, 2008 U.S. Dist. LEXIS

124382, at *14-16 (M.D. Fla. 2008):

       “A central assumption to the foundation underlying the de minimis rule is
       that an individual will pursue his or her legal rights based on a violation of
       the FDCPA or FCCPA. This premise is founded on the foregone conclusion
       that a potential individual plaintiff knows that a given collection letter violates
       the law, or at least possesses sufficient interest to investigate the legality of
       the letter. If the individual plaintiff recognizes or discovers a violation, then
       it is also expected that such discovery will spur the pursuit and hiring of an
       attorney to file and litigate the action. Congress, however, did not
       contemplate that suits under the FDCPA would be adjudicated by means of
       large numbers of individuals filing separate suits. On the contrary, Congress
       provided for class actions as a means for recovery to "overcome the
       problem that small recoveries do not provide the incentive for any individual
       to bring a solo action." Amchem, 521 U.S. at 617 (quoting Mace v. Van Ru
       Credit Corp., 109 F.3d 338, 344 (7th Cir. 1997)). Based on the intent of the
       FDCPA and all the various scenarios for recovery, this Court finds that the
       chance of a de minimis recovery should not defeat class certification in this
       case.”




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         10.    District Courts in San Antonio have recently determined that class actions

are the superior method of resolving form letter FDCPA cases, even where the expected

recovery is small: In Carmen v. R.A. Rogers, Inc., 5 the Court said:

         “Additionally, superiority of class actions in relation to FDCPA claims is
         apparent in the language of the FDCPA. "The language of the FDCPA
         governing the recovery in class actions is an indication that Congress views
         the availability of the class action procedure as an integral part of the
         enforcement regime." The typical recovery in FDCPA cases is very small
         due to the inability to demonstrate the amount of compensation that is
         reasonable to remedy an unfair collection practice. Not only would other
         methods of adjudication be inferior to a class action in the FDCPA context
         but requiring class members to bring individual claims would likely prevent
         any recovery for these relatively small claims.” (Internal citations Omitted”

Also see the general discussion of class action superiority in FDCPA cases in Boles v.

Moss Codilis, LLP, Civil Action No. SA-10-CV-1003-XR, 2012 U.S. Dist. LEXIS 196826

at *38040 (W.D. Tex. 2012).

         11.    Despite their usually de minimis per class member recovery, “form letter”

class actions are routinely certified in this district and others. See, e.g. Carmen v. R.A.

Rogers, 2018 U.S. Dist. LEXIS 174461, (W.D. Tex. 2018); Flecha v. Medicredit, Inc., No.

1:16-CV-792-LY, 2018 U.S. Dist. LEXIS 127620 (W.D. Tex. 2018); Bell v Adler, Wallach,

& Associates., et. al. 5:16-cv-00366-OLG (Oct. 10, 2017) ; Boles v. Moss Codilis, LLP,

Civil Action No. SA-10-CV-1003-XR, 2012 U.S. Dist. LEXIS 196826 (W.D. Tex. 2012);

Castro v. Collecto, Inc., 256 F.R.D. 534 (W.D. Tex. 2009); Grant v. Ocwen Loan Servicing,

No. 3:15-cv-01376-J-34PDB, 2018 U.S. Dist. LEXIS 135202 (M.D. Fla. 2018); Steffek v.

Client Servs., No. 18-C-160, 2018 U.S. Dist. LEXIS 127447 (E.D. Wis. 2018); Caprio v.




5
    No. SA-16-CA-971-FB (HJB), 2018 U.S. Dist. LEXIS 174461, at *14 (W.D. Tex. 2018).

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Healthcare Revenue Recovery Grp., LLC, 709 F.3d 142 (3d Cir. 2013); West v. Costen,

558 F. Supp. 564 (W.D. Va. 1983) (involving allegations very similar to the present case).

        12.   Defendant is basically saying that before Plaintiff gets any class discovery,

it must first get the case certified. Again, that is just not the law. The Fifth Circuit has said

“ In light of the mandate of Rule 23(c)(1) that a certification determination be made "(as)

soon as practicable after the commencement of (the) action," we think it imperative that

the district court be permitted to limit pre-certification discovery to evidence that, in its

sound judgment, would be "necessary or helpful" to the certification decision. Our prior

decisions make it clear, however, that in most cases "a certain amount of discovery is

essential in order to determine the class action issue and the proper scope of a class

action." Stewart v. Winter, 669 F.2d 328, 331 (5th Cir. 1982), citing Pittman v. E. I. duPont

de    Nemours     &    Co.,   552    F.2d    149,    150    (5th   Cir.   1977).    See    also,

Miner v. Gov't Payment Serv., No. 14-cv-7474, 2017 U.S. Dist. LEXIS 142834, at *8 (N.D.

Ill. 2017) (“In Rule 23 cases where plaintiffs have not yet filed a motion for class

certification, discovery may be used to help determine whether the class can properly be

certified, particularly with respect to the threshold requirements of "numerosity, common

questions, and adequacy of representation.", citing Oppenheimer Fund, Inc. v. Sanders,

437 U.S. 340, 351 n.13, 98 S. Ct. 2380, 57 L. Ed. 2d 253 (1978)).

     13. Plaintiff asks the Court order Defendant to admit or deny Request for Admission

No. 5 and fully and completely answer Interrogatory # 1, 5, 8, 9, 11, 12 and 13 of the first

set of interrogatories and Interrogatory # 1 and 3 of the second set of Interrogatories. All

these interrogatories are relevant to numerosity and/or ascertain- ability, or to Defendant’s

bona fide error defense.



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        14.   Plaintiff asks the Court to order Defendant to produce documents response

to Request for Production # 1, 15 (as it relates to 2018 tax returns or net worth

calculations) which are relevant to Defendant’s net worth and affirmative defense of bona

fide error despite reasonable procedures to prevent such errors. The documents

requested in Request for Production # 16 are also relevant to whether Defendant can

ascertain from its records the people to whom it sent the form letter that is at issue in this

case.

        15.   Certificate of Conference. The undersigned certifies that over weeks and

weeks, via correspondence, emails and sending briefing to Defendant’s counsel,

Plaintiff’s counsels have conferred and attempted to confer with Defendant’s counsel, but

this matter is still unresolved.



        Wherefore, premises considered, Plaintiff prays that Defendant be ordered to

respond to discovery request as requested herein. Plaintiff prays for general relief.




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                                              Respectfully submitted,

                                              BINGHAM & LEA, P.C.
                                              319 Maverick Street
                                              San Antonio, Texas 78212
                                              (210) 224-1819 Telephone
                                              (210) 224-0141 Facsimile

                                              LAW OFFICE OF BILL CLANTON, P.C.
                                              926 Chulie Dr.
                                              San Antonio, Texas 78216
                                              (210) 226-0800 Telephone
                                              (210) 338-8660 Facsimile

                                              By: /s/ Benjamin R. Bingham
                                                     BENJAMIN R. BINGHAM
                                                     State Bar No. 02322350
                                                     ben@binghamandlea.com
                                                     WILLIAM M. CLANTON
                                                     State Bar No. 24049436
                                                     bill@clantonlawoffice.com

                                               COUNSEL FOR PLAINTIFF




                             CERTIFICATE OF SERVICE

       I certify by my signature below that on May 20, 2019, I have caused a true and
correct copy of the above and foregoing to be served through the Court’s Electronic Case
Noticing System on the following:

Tom Clarke
Tclarkeatty7@aol.com
LAW OFFICES OF TOM CLARKE
8026 Vantage Dr., #105
San Antonio, Texas 78230

COUNSEL FOR DEFENDANT
                                        /s/ Benjamin R. Bingham
                                        BENJAMIN R. BINGHAM
                                        WILLIAM M. CLANTON

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